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 1   DAVID L. ANDERSON (CABN 149604)
     United States Attorney
 2
     HALLIE HOFFMAN (CABN 210020)
 3   Chief, Criminal Division

 4   ERIN A. CORNELL (CABN 227135)
     Assistant United States Attorney
 5
             450 Golden Gate Avenue, Box 36055
 6           San Francisco, California 94102-3495
             Telephone: (415) 436-7124
                                                                                                iLED
 7           Facsimile: (415) 436-7234
             erin.comell@usdoj .gov                        '                                AUG 2 9 2019
 8                                                                                         SUSAN Y. SOONG
     Attorneys for United States of America                                           Mrr -?''    DISTRICTCOURT
 9                                                                                    norIH DISTRICT OF CALIF0F;NIA
                                      UNITED STATES DISTRICT COURT
10
                                   NORTHERN DISTRICT OF CALIFORNIA
11
                                          SAN FRANCISCO DIVISION
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13   UNITED STATES OF AMERICA,                      /I) C^SENO,:
14           Plaintiff,-                                                    0412
15      V.                                                GOVERNMENT'S MOTION FOR SEALING
                                                          ORDER
16   VICTOR PALOMARES

17           Defendant.

18

19           The United States, by and through its counsel, Assistant United States Attorney, Erin Cornell,
20   hereby moves this Court for an order sealing the government's motion for a sealing order, the sealing

21   order, the indictment, arrest warrant, and all attachments in the above-referenced case. Disclosure of the

22   specified documents might jeopardize the defendant's arrest and the progress of this ongoing

23   investigation that is neither public nor known to unidentified co-conspirators of the investigation.

24           Accordingly, the United States requests that the Court seal these documents, except that the

25   Clerk of Court shall provide copies of the sealed documents to employees of the United States

26   Attorney's Office. The United States Attorney's Office is permitted to share these documents as

27   necessary with counsel for any defendant charged as a result of this investigation and with the Drug

28   Enforcement Administration, which should be allowed to share the these materials with other law

     GOVERNMENT'S MOTION FOR SEALING                       1                                V. 7/10/2018
     ORDER
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